
652 S.E.2d 921 (2007)
STATE of North Carolina
v.
Eddie CAPLE.
No. 437A05-2.
Supreme Court of North Carolina.
October 11, 2007.
Derrick C. Mertz, Assistant Attorney General, L. Johnson Britt, III, District Attorney, for State of NC.
Paul F. Herzog, Fayetteville, for Caple.
Prior report: ___ N.C.App. ___, 650 S.E.2d 8.

ORDER
Upon consideration of the petition filed by Attorney General on the 20th day of September 2007 for Writ of Supersedeas of the judgment of the Court of Appeals, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 11th day of October 2007."
HUDSON, J., recused.
